      Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 1 of 22 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                       Case No. 18-cv-05405
                        Plaintiff,

       v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                         COMPLAINT

       Plaintiff Levi Strauss & Co. (“LS&Co.”) hereby brings the present action against the

Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”) and alleges as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Online Marketplace
      Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 2 of 22 PageID #:2



Accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet

Stores”). Specifically, Defendants are reaching out to do business with Illinois residents by

operating one or more commercial, interactive Defendant Internet Stores through which Illinois

residents can purchase products using counterfeit versions of LS&Co.’s trademarks. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products using counterfeit versions of LS&Co.’s federally

registered trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused LS&Co. substantial

injury in the State of Illinois.

                                      II. INTRODUCTION

        3.      This action has been filed by LS&Co. to combat online counterfeiters who trade

upon LS&Co.’s reputation and goodwill by selling and/or offering for sale unauthorized and

unlicensed counterfeit products, including jeans, jean jackets, and other apparel items, using

counterfeits of LS&Co.’s federally registered trademarks (the “Counterfeit Levi’s Products”).

The Defendants create the Defendant Internet Stores by the hundreds and design them to appear

to be selling genuine LEVI’S® brand products, while actually selling Counterfeit Levi’s

Products to unknowing consumers. The Defendant Internet Stores share unique identifiers, such

as design elements and similarities of the Counterfeit Levi’s Products offered for sale,

establishing a logical relationship between them and suggesting that Defendants’ counterfeiting

operation arises out of the same transaction, occurrence, or series of transactions or occurrences.

Defendants attempt to avoid liability by going to great lengths to conceal both their identities and

the full scope and interworking of their counterfeiting operation. LS&Co. is forced to file these



                                                 2
      Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 3 of 22 PageID #:3



actions to combat Defendants’ counterfeiting of its registered trademarks, as well as to protect

unknowing consumers from purchasing Counterfeit Levi’s Products over the Internet. LS&Co.

has been and continues to be irreparably damaged through consumer confusion, dilution, and

tarnishment of its valuable trademarks as a result of Defendants’ actions and seeks injunctive and

monetary relief.

                                      III. THE PARTIES

Plaintiff

       4.      Plaintiff LS&Co. is a corporation organized and existing under the laws of the

State of Delaware, having its principal place of business at Levi’s Plaza, 1155 Battery Street, San

Francisco, California 94111.

       5.      Operating since the 1850s, LS&Co. is one of the oldest and best known apparel

companies in the world. It manufactures, markets and sells a variety of apparel, including its

traditional LEVI’S® brand products, all of which are marked with a set of trademarks that are

famous around the world. LEVI’S® brand products have become enormously popular and even

iconic, driven by LS&Co.’s arduous quality standards and innovative design.           Among the

purchasing public, LEVI’S® brand products are instantly recognizable as such. In the United

States and around the world, the LEVI’S® brand has come to symbolize high quality, and

LEVI’S® brand products are among the most recognizable apparel products in the world.

       6.      LEVI’S® brand products are distributed and sold to consumers through retailers

throughout the United States, including through authorized retailers in Illinois, the official

levi.com website which was launched in 1994, and LEVI’S® Stores, including locations at 600

N. Michigan Avenue and 1552 N. Milwaukee Avenue in Chicago, Illinois.




                                                3
     Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 4 of 22 PageID #:4



       7.       LS&Co. incorporates a variety of distinctive marks in the design of its various

LEVI’S® brand products. LEVI’S® brand products typically include at least one of the LEVI’S

Trademarks. Often several LS&Co. marks are displayed on a single LEVI’S® brand product.

LS&Co. further uses its trademarks in connection with the marketing of its LEVI’S® brand

products. As a result of its long-standing use, LS&Co. owns common law trademark rights in its

trademarks. LS&Co. has also registered multiple trademarks with the United States Patent and

Trademark Office. Among the marks registered are the Levi’s trademarks listed below.

 REGISTRATION                                 REGISTRATION
                        TRADEMARK                                 GOODS AND SERVICES
   NUMBER                                         DATE
   1,140,011               LEVI’S           September 30, 1980 For garments-namely, pants,
                                                               shirts, and shorts in class
                                                               025.

    1,124,018              LEVI’S            August 14, 1979     For purses, denim shopping
                                                                 bags, back packs, duffle
                                                                 bags, briefcase portfolios,
                                                                 key cases and wallets in class
                                                                 018.

                                                                 For belts, hats, caps, visors,
                                                                 and shoes in class 025.

    1,130,486              LEVI’S            February 5, 1980    For socks in class 025.

    4,660,979              LEVI’S           December 23, 2014    For underwear in class 025.


     250,265                                December 4, 1928     For jeans in class 025.



     581,610                                 October 27, 1953    For men's, women's and
                                                                 children's overalls, jackets,
                                                                 outer shirts, slacks, and
                                                                 pants; skirts in classes 010,
                                                                 025, 026.




                                               4
     Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 5 of 22 PageID #:5



    2,320,789                              February 22, 2000    For clothing, namely, men's,
                                                                women's and children's
                                                                pants, slacks, trousers, jeans,
                                                                shorts, overalls, shirts, t-
                                                                shirts, vests, skirts, jackets,
                                                                coats, sweaters, sweatshirts,
                                                                hats and shoes in class 025.

     849,437                                 May 21, 1968       For trousers, jackets, shorts,
                                                                shirts, skirts in class 025.



    1,135,196                                May 13, 1980       For garments-namely, pants
                                                                in class 025.



     928,351                                February 1, 1972    For men's, women's and
                                                                children's pants, jackets in
                                                                class 025.




       8.       In addition to the above Levi’s trademarks, LS&Co. has registered the famous

Arcuate Stitching Design trademark, the Tab Device trademark, the Two Horse Design and Two

Horse Label Design trademarks, and the 500 Series trademarks.

 LS&Co.’s Two Horse Label Design patch            LS&Co.’s Arcuate Stitching Design and Tab
            and 501 marks                                      Device marks




                                              5
      Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 6 of 22 PageID #:6



LS&Co.’s Arcuate Trademark

       9.        The Arcuate Stitching Design trademark (“Accurate trademark”) consists of a

distinctive pocket stitching design that is the oldest known apparel trademark in the United States

still in continuous use. LS&Co. has used the Arcuate trademark continuously since 1873 in

interstate commerce on clothing products. LS&Co. first used the Arcuate trademark on jeans

and later used it on other products, as well.

       10.       LS&Co. owns, among others, the following United States Registrations for its

Arcuate trademark.

  REGISTRATION                                   REGISTRATION
                         TRADEMARK                                      GOODS AND SERVICES
    NUMBER                                           DATE
    404,248                                     November 16, 1943    For waistband type overalls
                                                                     in class 025.




     1,139,254                                  September 2, 1980    For pants, jackets, skirts,
                                                                     and shorts in class 025.




     2,794,649                                  December 16, 2003    For pants, jeans, shorts,
                                                                     skirts, and jackets in class
                                                                     025.


     3,997,020                                    July 19, 2011      For jeans in class 025.




       11.       The Arcuate trademark is valid and protectable, and exclusively owned by

LS&Co. The Arcuate trademark is famous and is recognized around the world and throughout



                                                  6
      Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 7 of 22 PageID #:7



the United States by consumers as signifying authentic, high quality LEVI’S® brand products.

The Arcuate trademark became famous prior to Defendants’ conduct that is the subject of this

Complaint.

LS&Co.’s Tab Trademark

       12.     LS&Co.’s famous Tab Device Trademark (the “Tab trademark”), consists of a

textile marker or other material sewn into one of the regular structural seams of the garment.

LS&Co. uses the Tab trademark on LEVI’S® brand jeans and a variety of other clothing

products. LS&Co. began to display the Tab trademark on the rear pocket of its pants in 1936

when its National Sales Manager, Leo Christopher Lucier, proposed placing a folded cloth

ribbon in the structural seams of the rear pocket. The purpose of this “tab” was to provide “sight

identification” of LEVI’S® brand products. Given the distinctiveness of the Tab trademark, Mr.

Lucier asserted that “no other maker of overalls can have any other purpose in putting a colored

tab on an outside patch pocket, unless for the express and sole purpose of copying our mark, and

confusing the customer.”

       13.     LS&Co. owns, among others, the following United States Registrations for its

Tab trademark.

 REGISTRATION                                  REGISTRATION
                        TRADEMARK                                     GOODS AND SERVICES
   NUMBER                                         DATE
   356,701                                     May 10, 1938         For pants of the patch-
                                                                    pocket type worn by men,
                                                                    women and children in class
                                                                    025.




                                                7
 Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 8 of 22 PageID #:8



516,561                            October 18, 1949   For men's, women's and
                                                      children's jeans and jackets
                                                      in class 025.




577,490                             July 21, 1953     For jeans in class 025.




720,376                            August 22, 1961    For pants in class 025.




774,625                             August 4, 1964    For garments, particularly
                                                      trousers in class 025.




775,412                            August 18, 1964    For garments, particularly
                                                      trousers in class 025.




1,157,769                           June 16, 1981     For trousers in class 025.




                                    8
     Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 9 of 22 PageID #:9



    2,726,253                                  June 17, 2003      For clothing, namely, shirts
                                                                  in class 025.




       14.      The Tab trademark is valid and protectable, and exclusively owned by LS&Co.

The Tab trademark is famous and recognized around the world and throughout the United States

by consumers as signifying authentic, high quality LEVI’S® brand products. The Tab trademark

became famous prior to Defendants’ conduct that is the subject of this Complaint.

       15.      LS&Co. also has a trademark registration for a combination of the Arcuate

trademark and the Tab trademark shown in the chart below.

 REGISTRATION                                  REGISTRATION
                        TRADEMARK                                    GOODS AND SERVICES
   NUMBER                                          DATE
   2,791,156                                  December 9, 2003    For pants, jeans, shorts,
                                                                  skirts and jackets in class
                                                                  025.




LS&Co.’s Two Horse Trademarks

       16.      LS&Co. has used its Two Horse Design and Two Horse Label Design trademarks

(collectively, the “Two Horse trademarks”) continuously since as early as 1886 in interstate

commerce on jeans and pants.      LS&Co. owns, among others, the following United States

Registrations for its Two Horse trademarks.

 REGISTRATION                                  REGISTRATION
                        TRADEMARK                                    GOODS AND SERVICES
   NUMBER                                          DATE
   523,665                                     April 11, 1950     For men's, women's, boys',
                                                                  and girls' trousers in class
                                                                  025.



                                               9
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 10 of 22 PageID #:10



    1,044,246                                   July 20, 1976      For shoes in class 025.



    4,576,208                                   July 29, 2014      For jackets; jeans; pants; t-
                                                                   shirts; vests in class 025.


    1,030,033                                 January 13, 1976     For wallets in class 018.




    1,095,986                                   July 11, 1978      For luggage-namely, back
                                                                   packs, shoulder bags, and
                                                                   purses in class 018.

                                                                   For caps in class 025.


    1,140,853                                 October 28, 1980     For garments-namely, pants,
                                                                   jackets, overalls and shoes
                                                                   in class 025.




LS&Co.’s 500 Series Trademarks

       17.      LS&Co. also owns the distinctive trademarks 501, 505, 517, and 569, among

other marks that consist of three digits starting with a “5” (collectively, the “500 Series

trademarks”). LS&Co. has used the 500 Series trademarks continuously since as early as 1983

in interstate commerce on jeans and pants and, by virtue of LS&Co.’s use and promotion of the

500 Series trademarks together, the public recognizes LS&Co. as the source of apparel products

falling within the 500 series.

       18.      LS&Co. owns, among others, the following United States Registrations for its 500

Series trademarks.
                                               10
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 11 of 22 PageID #:11



 REGISTRATION                                   REGISTRATION
                         TRADEMARK                                     GOODS AND SERVICES
   NUMBER                                           DATE
   1,313,554                    505             January 8, 1985      For pants in class 025.

    1,319,462                   517           February 12, 1985      For pants in class 025.
    1,552,985                   501            August 22, 1989       For jeans in class 025.
    2,503,976                   569           November 6, 2001       For jeans and pants in class
                                                                     025.
    4,053,137                   550           November 8, 2011       For jeans; pants; shorts in
                                                                     class 025.

       19.      The U.S. trademark registrations discussed above shall collectively be referred to

herein as the “LEVI’S Trademarks.” The LEVI’S Trademarks are valid, subsisting, in full force

and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The LEVI’S Trademarks

have been used exclusively and continuously by LS&Co., some since at least as early as 1873,

and have never been abandoned. The registrations for the LEVI’S Trademarks constitute prima

facie evidence of their validity and of LS&Co.’s exclusive right to use the LEVI’S Trademarks

pursuant to 15 U.S.C. § 1057(b). Attached hereto as Exhibit 1 are true and correct copies of the

United States Registration Certificates for the LEVI’S Trademarks.

       20.      The LEVI’S Trademarks are exclusive to LS&Co. and are displayed extensively

on LEVI’S® brand products and in LS&Co.’s marketing and promotional materials. LEVI’S®

brand products have long been among the most popular jeans and apparel in the world and have

been extensively promoted and advertised at great expense. In fact, LS&Co. has expended

millions of dollars annually in advertising, promoting and marketing featuring the LEVI’S

Trademarks. LEVI’S® brand products have also been the subject of extensive unsolicited

publicity resulting from their high-quality, timeless designs and worldwide renown. Because of

these and other factors, the LEVI’S® brand and the LEVI’S Trademarks have become famous

throughout the United States.

                                                11
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 12 of 22 PageID #:12



       21.     The LEVI’S Trademarks are distinctive when applied to the LEVI’S® brand

products, signifying to the purchaser that the products come from LS&Co. and are manufactured

to LS&Co.’s quality standards. Whether LS&Co. manufactures the products itself or licenses

others to do so, LS&Co. has ensured that products bearing its LEVI’S Trademarks are

manufactured to the highest quality standards.      The LEVI’S Trademarks have achieved

tremendous fame and recognition, which has only added to the distinctiveness of the marks. As

such, the goodwill associated with the LEVI’S Trademarks is of incalculable and inestimable

value to LS&Co.

       22.     Since at least as early as 1994, LS&Co. has operated a website where it promotes

and sells LEVI’S® brand products at levi.com. Sales of LEVI’S® brand products via the

levi.com website represent a significant portion of LS&Co.’s business. The levi.com website

features proprietary content, images and designs exclusive to LS&Co.

       23.     LS&Co.’s innovative marketing and product designs have enabled LS&Co. to

achieve widespread recognition and fame and have made the LEVI’S Trademarks some of the

most well-known marks in the apparel industry. The widespread fame, outstanding reputation,

and significant goodwill associated with the LEVI’S® brand have made the LEVI’S Trademarks

valuable assets of LS&Co.

       24.     LS&Co. has expended substantial time, money, and other resources in

developing, advertising and otherwise promoting the LEVI’S Trademarks. As a result, products

bearing the LEVI’S Trademarks are widely recognized and exclusively associated by consumers,

the public, and the trade as being high-quality products sourced from LS&Co. LS&Co. is a

multi-million dollar operation, and LEVI’S® brand products have become among the most

popular of their kind in the world.



                                              12
     Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 13 of 22 PageID #:13



The Defendants

        25.    Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive, commercial online marketplaces

operating under the Defendant Internet Stores.       Each Defendant targets the United States,

including Illinois, and has offered to sell, and, on information and belief, has sold and continues

to sell Counterfeit Levi’s Products to consumers within the United States, including the State of

Illinois.

        26.    On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of the LEVI’S Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for LS&Co. to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    In the event that Defendants provide additional credible information

regarding their identities, LS&Co. will take appropriate steps to amend the Complaint.

                       IV. DEFENDANTS’ UNLAWFUL CONDUCT

        27.    The success of the LEVI’S® brand has resulted in its significant counterfeiting.

Consequently, LS&Co. has a worldwide anti-counterfeiting program and regularly investigates

suspicious online marketplace listings identified in proactive Internet sweeps and reported by

consumers.    In recent years, LS&Co. has identified many online marketplace listings on

platforms such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, including



                                                13
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 14 of 22 PageID #:14



the Defendant Internet Stores, which were offering for sale and/or selling Counterfeit Levi’s

Products to consumers in this Judicial District and throughout the United States.         Despite

LS&Co.’s enforcement efforts, Defendants have persisted in creating the Defendant Internet

Stores. Internet websites like the Defendant Internet Stores are estimated to receive tens of

millions of visits per year and to generate over $135 billion in annual online sales. According to

an intellectual property rights seizures statistics report issued by Homeland Security, the

manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in fiscal

year 2014 was over $1.23 billion. Internet websites like the Defendant Internet Stores are also

estimated to contribute to tens of thousands of lost jobs for legitimate businesses and broader

economic damages such as lost tax revenue every year.

       28.     Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores appear sophisticated and accept payment in U.S. dollars

via credit cards, Alipay, Amazon Pay, Western Union, and PayPal. The Defendant Internet

Stores often include content and design elements that make it very difficult for consumers to

distinguish such stores from an authorized retailer. Many Defendants further perpetuate the

illusion of legitimacy by offering customer service and using indicia of authenticity and security

that consumers have come to associate with authorized retailers, including the Visa®,

MasterCard®, and/or PayPal® logos. LS&Co. has not licensed or authorized Defendants to use

any of the LEVI’S Trademarks, and none of the Defendants are authorized retailers of LEVI’S®

brand products.

       29.     Many Defendants also deceive unknowing consumers by using the LEVI’S

Trademarks without authorization within the content, text, and/or meta tags of their online



                                               14
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 15 of 22 PageID #:15



marketplace listings in order to attract consumers searching for LEVI’S® brand products.

Additionally, upon information and belief, Defendants use other unauthorized search engine

optimization (SEO) tactics and social media spamming so that the Defendant Internet Stores

listings show up at or near the top of relevant search results and misdirect consumers searching

for LEVI’S® brand products. Other Defendants only show the LEVI’S Trademarks in product

images while using strategic item titles and descriptions that will trigger their listings when

consumers are searching for LEVI’S® brand products.

       30.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

On information and belief, Defendants regularly create new online marketplace accounts on

various platforms using the identities listed in Schedule A to the Complaint, as well as other

unknown fictitious names and addresses. Such Defendant Internet Store registration patterns are

one of many common tactics used by the Defendants to conceal their identities, the full scope

and interworking of their counterfeiting operation, and to avoid being shut down.

       31.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. For example, Counterfeit Levi’s

Products for sale in the Defendant Internet Stores bear similar irregularities and indicia of being

counterfeit to one another, suggesting that the Counterfeit Levi’s Products were manufactured by

and come from a common source and that Defendants are interrelated. The Defendant Internet

Stores also include other notable common features, including accepted payment methods, check-

out methods, meta data, illegitimate SEO tactics, lack of contact information, identically or

similarly priced items and volume sales discounts, the same incorrect grammar and misspellings,




                                                15
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 16 of 22 PageID #:16



similar hosting services, and the use of the same text and images, including content copied from

LS&Co.’s levi.com website.

       32.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new online marketplace accounts under new aliases once they receive notice of a

lawsuit. Counterfeiters also typically ship products in small quantities via international mail to

minimize detection by U.S. Customs and Border Protection.

       33.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of LS&Co.’s enforcement efforts.          On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       34.     Defendants, without any authorization or license from LS&Co., have knowingly

and willfully used and continue to use the LEVI’S Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Levi’s Products into the

United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the

United States, including Illinois, and, on information and belief, each Defendant has sold

Counterfeit Levi’s Products into the United States, including Illinois.




                                                   16
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 17 of 22 PageID #:17



       35.     Defendants’ unauthorized use of the LEVI’S Trademarks in connection with the

advertising, distribution, offering for sale, and sale of Counterfeit Levi’s Products, including the

sale of Counterfeit Levi’s Products into the United States, including Illinois, is likely to cause

and has caused confusion, mistake, and deception by and among consumers and is irreparably

harming LS&Co.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       36.     LS&Co. hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 35.

       37.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered LEVI’S

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The LEVI’S Trademarks are highly distinctive marks. Consumers have come

to expect the highest quality from LEVI’S® brand products sold or marketed under the LEVI’S

Trademarks.

       38.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the LEVI’S Trademarks without LS&Co.’s permission.

       39.     LS&Co. is the exclusive owner of the LEVI’S Trademarks. LS&Co.’s United

States Registrations for the LEVI’S Trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of LS&Co.’s rights in the LEVI’S

Trademarks, and are willfully infringing and intentionally using counterfeits of the LEVI’S

Trademarks. Defendants’ willful, intentional and unauthorized use of the LEVI’S Trademarks is




                                                17
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 18 of 22 PageID #:18



likely to cause and is causing confusion, mistake, and deception as to the origin and quality of

the Counterfeit Levi’s Products among the general public.

       40.     Defendants’     activities   constitute   willful   trademark   infringement   and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       41.     LS&Co. has no adequate remedy at law, and if Defendants’ actions are not

enjoined, LS&Co. will continue to suffer irreparable harm to its reputation and the goodwill of

its well-known LEVI’S Trademarks.

       42.     The injuries and damages sustained by LS&Co. have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Levi’s Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       43.     LS&Co. hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 42.

       44.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Levi’s Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with LS&Co. or the

origin, sponsorship, or approval of Defendants’ Counterfeit Levi’s Products by LS&Co. By

using the LEVI’S Trademarks on the Counterfeit Levi’s Products, Defendants create a false

designation of origin and a misleading representation of fact as to the origin and sponsorship of

the Counterfeit Levi’s Products.

       45.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Levi’s Products to the general public involves the




                                                 18
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 19 of 22 PageID #:19



use of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. §

1125.

        46.    LS&Co. has no adequate remedy at law and, if Defendants’ actions are not

enjoined, LS&Co. will continue to suffer irreparable harm to its reputation and the goodwill of

its LEVI’S® brand.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

        47.    LS&Co. hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 46.

        48.    Defendants have engaged in acts violating Illinois law, including, but not limited

to, passing off their Counterfeit Levi’s Products as those of LS&Co., causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with LEVI’S®

brand products, representing that their Counterfeit Levi’s Products have LS&Co.’s approval

when they do not, and engaging in other conduct which creates a likelihood of confusion or

misunderstanding among the public.

        49.    The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

        50.    LS&Co. has no adequate remedy at law, and Defendants’ conduct has caused

LS&Co. to suffer damage to its reputation and goodwill. Unless enjoined by the Court, LS&Co.

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                     PRAYER FOR RELIEF

WHEREFORE, LS&Co. prays for judgment against Defendants as follows:



                                                 19
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 20 of 22 PageID #:20



1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

      a. using the LEVI’S Trademarks or any reproductions, counterfeit copies or colorable

          imitations thereof in any manner in connection with the distribution, marketing,

          advertising, offering for sale, or sale of any product that is not a genuine LEVI’S®

          brand product or is not authorized by LS&Co. to be sold in connection with the

          LEVI’S Trademarks;

      b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

          LEVI’S® brand product or any other product produced by LS&Co., that is not

          LS&Co.’s or not produced under the authorization, control, or supervision of LS&Co.

          and approved by LS&Co. for sale under the LEVI’S Trademarks;

      c. committing any acts calculated to cause consumers to believe that Defendants’

          Counterfeit Levi’s Products are those sold under the authorization, control or

          supervision of LS&Co., or are sponsored by, approved by, or otherwise connected

          with LS&Co.;

      d. further infringing the LEVI’S Trademarks and damaging LS&Co.’s goodwill; and

      e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for LS&Co., nor authorized by LS&Co.

          to be sold or offered for sale, and which bear any of LS&Co.’s trademarks, including

          the LEVI’S Trademarks, or any reproductions, counterfeit copies or colorable

          imitations thereof;



                                             20
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 21 of 22 PageID #:21



2) Entry of an Order that, upon LS&Co.’s request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms

   such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com and Dhgate, sponsored search

   engine or ad-word providers, credit cards, banks, merchant account providers, third party

   processors and other payment processing service providers, and Internet search engines such

   as Google, Bing and Yahoo (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using the LEVI’S Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using the

           LEVI’S Trademarks; and

       c. take all steps necessary to prevent links to the Online Marketplace Accounts

           identified on Schedule A from displaying in search results, including, but not limited

           to, removing links to the Online Marketplace Accounts from any search index;

3) That Defendants account for and pay to LS&Co. all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of the LEVI’S Trademarks be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that LS&Co. be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   LEVI’S Trademarks;

5) That LS&Co. be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.



                                               21
    Case: 1:18-cv-05405 Document #: 1 Filed: 08/08/18 Page 22 of 22 PageID #:22



Dated this 8th day of August 2018.    Respectfully submitted,


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                                        22
